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                                   EXHIBIT A




26437925.15
                           Case 20-10343-LSS          Doc 6099-2        Filed 08/20/21   Page 2 of 29
             YOUNG CONAWAY STARGATT & TAYLOR, LLP
                                                        RODNEY SQUARE
                                                    1000 NORTH KING STREET
                                                  WILMINGTON, DELAWARE 19801

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                                                WILMINGTON, DELAWARE 19899-0391
(302) 571-6600                                                                                        (302) 571-1253 FAX
(800) 253-2234 (DE ONLY)                              TAX I.D. NO. XX-XXXXXXX                               www.ycst.com



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(302) 571-6703                                                                                          eharron@ycst.com




Young Conaway                                                          Invoice Date:              August 11, 2021
Rodney Square                                                          Invoice Number:                 50026391
1000 North King Street                                                 Matter Number:               077494.1001
Wilmington, DE 19801



Re: Boy Scouts of America and Delaware BSA
    For the period ending July 31, 2021

CURRENT INVOICE


                       Professional Services                                     $       360,013.50

                       Disbursements                                             $         8,455.41

                       Total Due This Invoice                                    $       368,468.91
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Patton, James L., Jr., Future Claimants' Representative              Invoice Date:                  August 11, 2021
                                                                     Invoice Number:                     50026391
                                                                     Matter Number:                   077494.1001

Time Detail

Task Code:       B001         Case Administration

Date          Initials        Description                                     Hours         Rate         Amount
07/01/21      LEDEN           Review 7/1/21 docket report re: recently           0.10     310.00            31.00
                              filed pleadings
07/01/21      CCATH           Update critical dates calendar                     0.10     310.00            31.00
07/02/21      CCATH           Update critical dates calendar                     0.10     310.00            31.00
07/06/21      CCATH           Prepare and circulate critical dates               0.20     310.00            62.00
                              calendar
07/06/21      LEDEN           Review 7/6/21 docket report re: recently           0.10     310.00            31.00
                              filed pleadings
07/06/21      AJACO           Brief review of recently filed pleadings           0.20     645.00           129.00
07/06/21      RBRAD           Review updated critical dates calendar             0.10    1,075.00          107.50
07/06/21      LEDEN           Review 7/2/21 docket report re:                    0.10     310.00            31.00
                              incoming pleadings
07/06/21      LEDEN           Review 7/6/21 critical dates memo re:              0.10     310.00            31.00
                              upcoming hearing dates and deadlines
07/07/21      LEDEN           Review 7/7/21 docket report re: recently           0.10     310.00            31.00
                              filed pleadings
07/08/21      AJACO           Review upcoming dates and deadlines                0.10     645.00            64.50
07/08/21      LEDEN           Update critical dates                              0.10     310.00            31.00
07/08/21      CCATH           Update critical dates calendar                     0.20     310.00            62.00
07/08/21      AJACO           Brief review of recently filed pleadings           0.10     645.00            64.50
07/08/21      LEDEN           Review 7/8/21 docket report re: recently           0.10     310.00            31.00
                              filed pleadings
07/12/21      CCATH           Prepare and circulate critical dates               0.10     310.00            31.00
                              calendar
07/12/21      RBRAD           Review updated critical dates memo                 0.10    1,075.00          107.50
07/13/21      LEDEN           Review 7/12/21 memo re: upcoming                   0.10     310.00            31.00
                              hearing dates and objection deadlines
07/13/21      LEDEN           Review 7/9/21 docket report re: recently           0.10     310.00            31.00
                              filed pleadings
07/13/21      AJACO           Review recently filed pleadings                    0.20     645.00           129.00
07/13/21      AFARI           Prepare for and participate in weekly              0.60     485.00           291.00
                              strategy call with YCST team
07/13/21      CCATH           Update critical dates calendar                     0.10     310.00            31.00
07/14/21      LEDEN           Review 7/13/21 docket report re:                   0.10     310.00            31.00
                              recently filed pleadings
07/14/21      CCATH           Update critical dates calendar                     0.10     310.00            31.00
07/14/21      AJACO           Review status of main case and                     0.60     645.00           387.00
                              injunction adversary (.3); brief review of
                              recently filed pleadings (.3)


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                                                                    Invoice Number:                    50026391
                                                                    Matter Number:                  077494.1001

Date         Initials        Description                                     Hours         Rate        Amount
07/15/21     LEDEN           Review 7/14/21 docket report re:                   0.10     310.00           31.00
                             recently filed pleadings
07/15/21     CCATH           Download and circulate new pleadings               0.10     310.00           31.00
07/16/21     CCATH           Update critical dates calendar                     0.10     310.00           31.00
07/19/21     CCATH           Prepare and circulate critical dates               0.10     310.00           31.00
                             calendar
07/19/21     LEDEN           Review 7/16/21 docket report re:                   0.10     310.00           31.00
                             recently filed pleadings
07/19/21     LEDEN           Review 7/19/21 critical dates memo re:             0.10     310.00           31.00
                             upcoming deadlines and hearing dates
07/19/21     LEDEN           Review 7/19/21 docket report re:                   0.10     310.00           31.00
                             recently filed pleadings
07/19/21     AJACO           Brief review of recently filed pleadings           0.30     645.00          193.50
07/20/21     AJACO           Review upcoming tasks and deadlines                0.10     645.00           64.50
07/21/21     LEDEN           Review 7/21/21 docket report re:                   0.10     310.00           31.00
                             recently filed pleadings
07/21/21     CCATH           Update critical dates calendar                     0.10     310.00           31.00
07/22/21     CCATH           Update critical dates calendar                     0.10     310.00           31.00
07/22/21     LEDEN           Review 7/22/21 docket report re:                   0.10     310.00           31.00
                             recently filed pleadings
07/22/21     LEDEN           Update critical dates                              0.10     310.00           31.00
07/23/21     CCATH           Update critical dates calendar                     0.10     310.00           31.00
07/26/21     CCATH           Prepare and circulate critical dates               0.20     310.00           62.00
                             calendar
07/26/21     LEDEN           Review 7/23 and 7/26/21 docket reports             0.10     310.00           31.00
                             re: recently filed pleadings
07/26/21     LEDEN           Review 7/26/21 critical dates memo re:             0.10     310.00           31.00
                             upcoming deadlines and hearing dates
07/27/21     CCATH           Update critical dates calendar                     0.10     310.00           31.00
07/27/21     JKOCH           Call with A. Jacobs, A. Faris, and J.              0.10     450.00           45.00
                             Patton re: case status and work streams
07/28/21     CCATH           Update critical dates calendar                     0.10     310.00           31.00
07/28/21     AJACO           Brief review of recently filed pleadings           0.10     645.00           64.50
07/30/21     CCATH           Update critical dates calendar                     0.10     310.00           31.00

                                                          Total                 6.50                   2,856.50

Task Code:      B002         Court Hearings

Date         Initials        Description                                     Hours         Rate        Amount
07/06/21     CCATH           Preparations for 7/7/21 status                     0.20     310.00           62.00
                             conference



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                                                                    Invoice Number:                     50026391
                                                                    Matter Number:                   077494.1001

Date         Initials        Description                                     Hours         Rate         Amount
07/06/21     RBRAD           Teleconference with M. Linder re:                  0.40    1,075.00          430.00
                             strategy for status conference on
                             disclosure statement and confirmation
                             schedule
07/07/21     EHARR           Call with R. Brady re: discussion of               0.30    1,025.00          307.50
                             initial hearing on RSA
07/07/21     RBRAD           Prepare for (.5) and attend status                 3.30    1,075.00        3,547.50
                             conference with Court re: RSA motion
                             and disclosure statement hearing (2.4);
                             follow-up call with E. Harron re: results
                             of status conference (.3); draft memo to
                             team with new dates (.1)
07/07/21     JPATT           Attend status conference with Court                2.10    1,475.00        3,097.50
07/07/21     KGUER           Status conference with Court                       2.10     825.00         1,732.50
07/08/21     CCATH           Preparations for 7/29/21 hearing re:               0.80     310.00           248.00
                             insurers' motions to compel Rule 2019
                             disclosures
07/19/21     CCATH           Preparations for 7/21/21 hearing                   0.50     310.00           155.00
07/19/21     RBRAD           Review agenda for 7/21/21 hearing                  0.20    1,075.00          215.00
07/20/21     RBRAD           Review amended agenda for 7/21/21                  0.20    1,075.00          215.00
                             hearing and related materials
07/21/21     EHARR           Attend hearing                                     2.50    1,025.00        2,562.50
07/21/21     EHARR           Review 7/21/21 hearing agenda (.2) and             0.40    1,025.00          410.00
                             prepare for hearing (.2)
07/21/21     RBRAD           Prepare for (.2) and attend omnibus                2.70    1,075.00        2,902.50
                             hearing (2.5)
07/23/21     KENOS           Call with E. Harron, R. Brady, TCC                 0.80     750.00           600.00
                             counsel and Coalition counsel re: RSA
                             hearing preparations
07/27/21     KENOS           Attend hearing re: discovery disputes in           1.20     750.00           900.00
                             connection with RSA hearing (.8) and
                             preparations for same (.4)
07/27/21     CCATH           Preparations for 7/29/21 hearing                   1.20     310.00           372.00
07/27/21     CCATH           Preparations for 7/27/21 discovery                 0.50     310.00           155.00
                             conference
07/27/21     KGUER           Review 7/29/21 hearing agenda                      0.10     825.00            82.50
07/27/21     KGUER           Emails with R. Brady re: 7/29/21                   0.10     825.00            82.50
                             hearing
07/28/21     CCATH           Preparations for 7/29/21 hearing                   0.20     310.00            62.00
07/29/21     KENOS           Prepare for (.5) and attend (2.1) 7/29/21          2.60     750.00         1,950.00
                             omnibus hearing

                                                          Total               22.40                    20,089.00



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                                                                  Matter Number:                  077494.1001

Task Code:      B007         Claims Analysis, Objections and Resolutions

Date         Initials        Description                                   Hours         Rate        Amount
07/01/21     KDORV           Research re: conversion issues                   7.10     400.00        2,840.00
07/01/21     JKOCH           Research re: state law survey on                 4.10     450.00        1,845.00
                             repressed memory
07/01/21     JBROO           Research re: repressed memory factual            3.70     400.00        1,480.00
                             considerations
07/02/21     KDORV           Research re: conversion issue                    3.50     400.00        1,400.00
07/02/21     AFARI           Research re: repressed memory project            2.10     485.00        1,018.50
07/02/21     JBROO           Research re: repressed memory factual            5.90     400.00        2,360.00
                             considerations
07/03/21     JBROO           Research re: repressed memory factual            0.20     400.00           80.00
                             considerations
07/04/21     KDORV           Draft email memo to K. Enos re:                  2.20     400.00          880.00
                             conversion issue research
07/04/21     KDORV           Research re: conversion issue                    2.80     400.00        1,120.00
07/05/21     KDORV           Draft email memo to K. Enos re:                  2.10     400.00          840.00
                             conversion issue research
07/05/21     AFARI           Further research re: survey of states'           5.30     485.00        2,570.50
                             laws on repressed memory theory (2.9);
                             draft memo re: same (2.4)
07/05/21     KDORV           Email K. Enos re: conversion issue               0.10     400.00           40.00
                             research
07/06/21     JKOCH           Research re: state law survey on                 0.80     450.00          360.00
                             repressed memory
07/06/21     KENOS           Begin review of state survey re:                 0.70     750.00          525.00
                             repressed memory considerations
07/06/21     KENOS           Review and consider conversion-related           0.50     750.00          375.00
                             research memo re: restricted asset
                             considerations (and follow-up research
                             re: same)
07/06/21     JBROO           Research re: repressed memory factual            2.70     400.00        1,080.00
                             considerations
07/07/21     KENOS           Continue to review and comment on 50             0.60     750.00          450.00
                             state survey re: repressed memory
                             considerations
07/08/21     KENOS           Further revise 50 state survey re: abuse         2.90     750.00        2,175.00
                             statutes and repressed memory issues
07/08/21     KENOS           Emails with Ankura team re: status of            0.20     750.00          150.00
                             claims forecast
07/09/21     KENOS           Revise 50 state survey re: discovery rule        3.80     750.00        2,850.00
                             and repressed memory
07/10/21     KENOS           Revise 50 state survey memo re:                  2.90     750.00        2,175.00
                             repressed memory and discovery rule
                             issues

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Date         Initials        Description                                     Hours         Rate         Amount
07/11/21     KENOS           Revise 50 state survey memo re:                    1.90     750.00         1,425.00
                             repressed memory and discovery rule
                             issues
07/12/21     KENOS           Further review and revise 50 state                 3.20     750.00         2,400.00
                             survey re: repressed memory and
                             discovery rule issues
07/13/21     KENOS           Revise 50 state survey re: repressed               4.10     750.00         3,075.00
                             memory and discovery rule
07/14/21     EHARR           Emails with K. Enos re: status of future           0.30    1,025.00          307.50
                             demand holders forecast
07/14/21     KENOS           Review and revise 50 state survey re:              2.90     750.00         2,175.00
                             repressed memory/discovery rule issues
07/16/21     KENOS           Emails with Ankura team re: claims                 0.20     750.00           150.00
                             projections
07/21/21     KENOS           Update 50 state survey re: judge/jury              0.90     750.00           675.00
                             determinations
07/21/21     AJACO           Review Pennsylvania ruling on statute              0.10     645.00            64.50
                             of limitations issues
07/22/21     KENOS           Further update 50 state survey re:                 2.20     750.00         1,650.00
                             repressed memory issues (judge/jury
                             determinations)
07/23/21     KENOS           Further update 50 state survey re:                 0.90     750.00           675.00
                             repressed memory issues (judge/jury
                             determinations)
07/26/21     KENOS           Update 50 state survey re: repressed               1.90     750.00         1,425.00
                             memory evidentiary issues
07/27/21     KENOS           Further revise 50 state survey re:                 0.50     750.00           375.00
                             repressed memory issues (admissibility
                             considerations).
07/30/21     KENOS           Update repressed memory research re:               0.80     750.00           600.00
                             admissibility issues

                                                          Total               74.10                    41,611.00

Task Code:      B008         Meetings

Date         Initials        Description                                     Hours         Rate         Amount
07/06/21     JPATT           Attend YCST team call                              0.40    1,475.00          590.00
07/06/21     JKOCH           Attend call with J. Patton, R. Brady, K.           0.30     450.00           135.00
                             Enos, A. Jacobs, A. Faris, and E. Grim
                             re: case status and work streams
07/06/21     AFARI           Prepare for and participate in weekly              0.90     485.00           436.50
                             call re: case status




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Date         Initials        Description                                  Hours         Rate         Amount
07/06/21     KENOS           Call with R. Brady, J. Patton, A. Jacobs,       0.40     750.00           300.00
                             K. Dorvilier, J. Kochenash, and A. Faris
                             re: case update and current work in
                             progress
07/06/21     RBRAD           Attend FCR advisors call re: case issues,       0.50    1,075.00          537.50
                             updates and strategy (J. Patton, K. Enos,
                             J. Kochenash, A. Faris, A. Jacobs, and
                             E. Grim)
07/06/21     AJACO           Meet with R. Brady, K. Enos, A. Faris,          0.40     645.00           258.00
                             and J. Kochenash re: case status and
                             deadlines
07/13/21     AJACO           Call with R. Brady, K. Enos, J.                 0.60     645.00           387.00
                             Kochenash and A. Faris re: upcoming
                             tasks and deadlines
07/13/21     KENOS           Call with R. Brady, A. Jacobs, J.               0.50     750.00           375.00
                             Kochenash, and A. Faris re: case update
                             and current work in progress
07/13/21     RBRAD           Conference call with K. Enos, A.                0.50    1,075.00          537.50
                             Jacobs, J. Kochenash and A. Faris re:
                             case issues, updates and strategy
07/13/21     JKOCH           Call with R. Brady, A. Jacobs, K. Enos,         0.50     450.00           225.00
                             and A. Faris re: case status and work
                             streams
07/20/21     EHARR           Call with E. Grim, R. Brady, J. Patton,         0.50    1,025.00          512.50
                             K. Enos, A. Jacobs, J. Kochenash, and
                             A. Faris re: case status
07/20/21     AJACO           Meet with J. Patton, E. Harron, R.              0.50     645.00           322.50
                             Brady, K. Enos, J. Kochenash, and A.
                             Faris re: upcoming tasks and deadlines
07/20/21     KENOS           Call with R. Brady, E. Harron, J. Patton,       0.50     750.00           375.00
                             A. Jacobs, J. Kochenash, and A. Faris
                             re: case update and current work in
                             progress
07/20/21     AFARI           Prepare for and participate in weekly           0.80     485.00           388.00
                             call with YCST team re: case status and
                             strategy
07/20/21     RBRAD           Review agenda items (.1) and attend             0.50    1,075.00          537.50
                             conference call with YCST and Gilbert
                             teams re: case issues, updates and
                             strategy (.4)
07/20/21     JKOCH           Call with J. Patton, E. Harron, R. Brady,       0.40     450.00           180.00
                             K. Enos, A. Jacobs, and A. Faris re: case
                             status and work streams
07/27/21     JPATT           Attend YCST team call                           0.40    1,475.00          590.00
07/27/21     AJACO           Meet with J. Patton, J. Kochenash, and          0.20     645.00           129.00
                             A. Faris re: upcoming tasks and
                             deadlines

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                                                                  Invoice Number:                     50026391
                                                                  Matter Number:                   077494.1001

Date         Initials        Description                                    Hours        Rate         Amount
07/27/21     AFARI           Prepare for and participate in weekly            0.30     485.00           145.50
                             status update call with YCST team

                                                          Total               9.10                    6,961.50

Task Code:      B009         Stay Relief Matters

Date         Initials        Description                                    Hours        Rate         Amount
07/09/21     EHARR           Emails with K. Quinn re: Lehr lift stay          0.20    1,025.00          205.00
                             option
07/27/21     AJACO           Review stay lift motion                          0.30     645.00           193.50

                                                          Total               0.50                      398.50

Task Code:      B011         Other Adversary Proceedings

Date         Initials        Description                                    Hours        Rate         Amount
07/02/21     AJACO           Emails with E. Grim re: status of TDP            0.10     645.00            64.50
                             litigation memo
07/06/21     KGUER           Teleconference with Debtors and                  0.40     825.00           330.00
                             counsel re: discovery and depositions
07/06/21     KGUER           Emails with E. Harron and R. Brady re:           0.20     825.00           165.00
                             depositions and litigation issues
07/06/21     KGUER           Review and analyze docket, motion to             2.20     825.00         1,815.00
                             approve RSA and plan term sheet, and
                             declarations
07/09/21     KGUER           Emails with E. Harron and R. Brady re:           0.40     825.00           330.00
                             depositions and review scheduling
                             issues re: same
07/12/21     KGUER           Emails with R. Brady and E. Harron re:           0.20     825.00           165.00
                             depositions and discovery
07/12/21     KGUER           Review deposition scheduling                     0.20     825.00           165.00
07/13/21     RBRAD           Review productions and certifications            0.70    1,075.00          752.50
                             from Local Council in accordance with
                             fourth stipulation extending preliminary
                             injunction in adversary proceeding
07/13/21     KGUER           Emails with R. Brady re: discovery               0.10     825.00            82.50
                             issues
07/14/21     CCATH           Update discovery-related files                   0.10     310.00            31.00
07/27/21     KGUER           Emails with R. Brady, E. Harron and K.           0.30     825.00           247.50
                             Enos re: discovery dispute and related
                             issues
07/27/21     KGUER           Attend hearing re: discovery dispute             0.70     825.00           577.50
07/29/21     KGUER           Emails with R. Brady, K. Enos and E.             0.30     825.00           247.50
                             Harron re: scheduling, hearing, and
                             discovery dispute

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                                                                  Invoice Number:                     50026391
                                                                  Matter Number:                   077494.1001

Date         Initials        Description                                   Hours         Rate         Amount
07/29/21     KGUER           Review draft letter re: discovery dispute        0.20      825.00          165.00
07/29/21     KENOS           Review and comment on motion to                  0.60      750.00          450.00
                             compel correspondence re: insurer
                             discovery (.4) and correspondence with
                             survivor parties re: same (.2)
07/29/21     AJACO           Brief review of recently filed pleadings         0.20      645.00          129.00
                             re: discovery issues
07/30/21     KGUER           Emails with K. Enos and J. Patton re:            0.10      825.00           82.50
                             discovery issue and review update letter
07/30/21     KGUER           Review report re: hearing summary and            0.20      825.00          165.00
                             discovery dispute
07/30/21     KGUER           Review Fay declaration, motion to                2.60      825.00        2,145.00
                             strike/in limine, Hershey declaration,
                             Desai declaration, Coalition brief, reply
                             to RSA motion, objections to RSA,
                             reply to motion to compel, motion to
                             strike Mosby and declaration re:
                             discovery
07/30/21     AJACO           Review/revise TDP litigation memo                0.70      645.00          451.50

                                                          Total             10.50                     8,561.00

Task Code:      B012         Plan and Disclosure Statement

Date         Initials        Description                                   Hours         Rate         Amount
06/26/21     RBRAD           Review Coalition comments to draft               0.50    1,075.00          537.50
                             plan term sheet
07/01/21     KENOS           Work with Debtors, Coalition, and TCC            1.40      750.00        1,050.00
                             re: finalizing RSA and plan term sheet
07/01/21     KENOS           Review and comment on revised                    1.30      750.00          975.00
                             disclosure statement
07/01/21     SKOHU           Confer with E. Harron re: strategy for           0.10      750.00           75.00
                             trust agreement
07/01/21     SKOHU           Continue to review and revise updated            2.00      750.00        1,500.00
                             draft of trust agreement
07/01/21     SKOHU           Review and revise updated draft of trust         1.80      750.00        1,350.00
                             agreement (1.0); multiple
                             correspondence with J. Patton, E.
                             Harron, and R. Brady re: strategy for
                             same (.8)
07/01/21     SKOHU           Review committee comments on trust               0.20      750.00          150.00
                             agreement
07/01/21     EHARR           Review edits to plan term sheet                  0.20    1,025.00          205.00




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Date         Initials        Description                                   Hours         Rate         Amount
07/01/21     RBRAD           Review Moving Insurer motion to                  0.60    1,075.00          645.00
                             continue disclosure statement hearing
                             (.5) and correspondence with E. Harron
                             re: same (.1)
07/01/21     RBRAD           Review correspondence with Debtors,              0.60    1,075.00          645.00
                             TCC, Coalition, and FCR re: plan term
                             sheet negotiations
07/01/21     EHARR           Review edits to trust agreement (.6);            1.20    1,025.00        1,230.00
                             emails with B. Kelly and S. Kohut re:
                             trust agreement comments (.5); call with
                             S. Kohut re: same (.1)
07/01/21     RBRAD           Review proposed edits to plan trust              1.70    1,075.00        1,827.50
                             agreement (1.2) and correspondence
                             from S. Kohut, E. Harron and J. Patton
                             with comments (.5)
07/01/21     RBRAD           Begin review of revised disclosure               1.60    1,075.00        1,720.00
                             statement
07/01/21     RBRAD           Review revised plan term sheet and               0.70    1,075.00          752.50
                             TDP
07/01/21     JPATT           Evaluate remaining issues re: plan               2.90    1,475.00        4,277.50
                             negotiations
07/01/21     KENOS           Review revised versions of RSA, plan             0.90      750.00          675.00
                             term sheet, and TDP
07/01/21     KENOS           Review insurers' motion to adjourn               0.30      750.00          225.00
                             disclosure statement hearing
07/02/21     KENOS           Review Debtors' motion to approve                0.60      750.00          450.00
                             RSA
07/02/21     KENOS           Review and comment on revised plan               1.90      750.00        1,425.00
07/02/21     SKOHU           Correspondence with R. Orgel and E.              0.30      750.00          225.00
                             Harron re: trust agreement strategy
07/02/21     SKOHU           Review further revisions to trust                0.80      750.00          600.00
                             agreement
07/02/21     SKOHU           Analyze revisions to trust agreement and         1.00      750.00          750.00
                             correspondence re: same;
                             correspondence to E. Harron re: strategy
                             for same (.2).
07/02/21     EHARR           Review edits to trust agreement                  1.00    1,025.00        1,025.00
07/02/21     EHARR           Review plan edits                                1.00    1,025.00        1,025.00
07/02/21     EHARR           Review disclosure statement edits                0.80    1,025.00          820.00
07/02/21     RBRAD           Review further revised trust agreement           0.60    1,075.00          645.00
                             including comments from J. Patton and
                             E. Harron




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07/02/21     RBRAD           Review and comment on revised                    3.40    1,075.00        3,655.00
                             disclosure statement and plan (2.8) and
                             correspondence with M. Linder, E.
                             Grim, D. Molton and E. Harron re: same
                             (.6)
07/02/21     JPATT           Review trust agreement and open issues           2.90    1,475.00        4,277.50
07/04/21     SKOHU           Analyze comments from counsel for                0.40      750.00          300.00
                             Debtors and TCC on trust agreement
07/05/21     RBRAD           Review Insurer discovery requests re:            0.40    1,075.00          430.00
                             RSA motion and Debtors meet and
                             confer refer (.3); correspondence with E.
                             Harron re: strategy re: same (.1)
07/05/21     RBRAD           Review TCC proposed edits to trust               0.60    1,075.00          645.00
                             agreement (.4) and follow-up
                             correspondence from B. Kelly (.2)
07/05/21     EHARR           Review further edits to trust agreement          0.80    1,025.00          820.00
                             (.6); email to J. Patton re: trust
                             agreement edits (.2)
07/05/21     EHARR           Work on plan and TDP follow-up edits             0.40    1,025.00          410.00
07/05/21     SKOHU           Correspondence with E. Harron re:                0.20      750.00          150.00
                             strategy for trust documents
07/06/21     JPATT           Work on plan issues                              2.10    1,475.00        3,097.50
07/06/21     KENOS           Review as-filed version of fourth                0.90      750.00          675.00
                             amended plan and blackline against
                             third amended plan
07/06/21     RBRAD           Conference call with Debtors, TCC,               0.60    1,075.00          645.00
                             Coalition, FCR and Insurers re: meet
                             and confer on Insurer discovery related
                             to RSA motion (.4); review follow-up
                             correspondence from Debtors’ counsel
                             re: same (.2)
07/06/21     RBRAD           Conference call with M. Andolina, M.             0.90    1,075.00          967.50
                             Linder, J. Stang, J. Lucas, D. Molton,
                             and E. Goodman re: preparation for
                             status conference and hearing on RSA
                             motion and related issues
07/06/21     EHARR           Review revised draft form of order               0.20    1,025.00          205.00
                             approving RSA
07/07/21     JPATT           Review issues raised by non-settling             3.10    1,475.00        4,572.50
                             parties
07/07/21     KENOS           Review TCC plan summary and FAQ                  0.30      750.00          225.00
07/07/21     RBRAD           Review proposed revised discovery                0.20    1,075.00          215.00
                             schedule in connection with RSA
                             motion




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07/07/21     AFARI           Research re: obligation to pursue                   0.90      485.00          436.50
                             approval of settlement (.6); email to
                             YCST team re: same (.3)
07/07/21     KENOS           Review Martin decision re: 9019                     0.40      750.00          300.00
                             requirements
07/07/21     EHARR           Review plan                                         1.50    1,025.00        1,537.50
07/07/21     RBRAD           Review Hartford objection to motion to              0.90    1,075.00          967.50
                             shorten notice re: RSA approval motion
                             (.3); review Century Insurers reply in
                             support of motion to adjourn disclosure
                             statement hearing and objection to
                             motion to shorten notice re: RSA
                             approval motion (.5); review Clarendon
                             joinder (.1)
07/07/21     AJACO           Review amended plan documents                       2.10      645.00        1,354.50
07/08/21     JPATT           Review open trust issues                            2.20    1,475.00        3,245.00
07/08/21     RBRAD           Teleconference with E. Harron and A.                0.50    1,075.00          537.50
                             Andrews re: status conference on RSA
                             motion and disclosure statement
                             scheduling (.3); follow-up conference
                             with E. Harron re: same (.2)
07/08/21     RBRAD           Review and consider case law in                     1.40    1,075.00        1,505.00
                             connection with RSA motion
07/08/21     RBRAD           Review excerpts from deposition                     1.20    1,075.00        1,290.00
                             testimony in Imerys bankruptcy re:
                             insurer disclosure statement objections
07/08/21     RBRAD           Review letter from Brown Rudnick to                 0.20    1,075.00          215.00
                             Century re: deficiencies in responding to
                             Coalition/FCR plan discovery
07/09/21     AJACO           Review recently filed pleadings re: plan            0.90      645.00          580.50
                             and RSA
07/09/21     RBRAD           Review correspondence (multiple) with               0.70    1,075.00          752.50
                             insurers and Debtors re: discovery
                             schedule in connection with RSA
                             motion (.5) and follow-up
                             correspondence re: mediation privilege
                             issues (.2)
07/09/21     RBRAD           Review and develop disclosure                       2.20    1,075.00        2,365.00
                             statement issues and strategy for hearing
07/10/21     AJACO           Research precedent re: TDP issues                   3.10      645.00        1,999.50
07/11/21     RBRAD           Review draft plan summary and FAQs                  1.20    1,075.00        1,290.00
                             from TCC counsel
07/11/21     KENOS           Attention to disclosure statement                   0.30      750.00          225.00
                             hearing preparations
07/11/21     AJACO           Research precedent re: TDP litigation               2.90      645.00        1,870.50


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07/12/21     CCATH           Disclosure statement-related research              0.40      310.00          124.00
                             per request of E. Harron
07/12/21     RBRAD           Review Debtors' document production                3.00    1,075.00        3,225.00
                             re: RSA motion discovery (2.8) and
                             correspondence to insurers re: privilege
                             log (.2)
07/12/21     RBRAD           Work on draft plan summary and FAQs                3.40    1,075.00        3,655.00
                             document (2.4) and conference with K.
                             Enos re: same (.5); correspondence with
                             E. Harron, K. Enos, and K. Quinn re:
                             same (.1); review further edits from K.
                             Enos (.4)
07/12/21     EHARR           Review edits to plan summary                       0.50    1,025.00          512.50
07/12/21     EHARR           Call with E. Goodman re: plan term                 0.20    1,025.00          205.00
                             sheet issues
07/12/21     KENOS           Review and comment on plan summary                 2.20      750.00        1,650.00
                             and FAQ
07/12/21     KENOS           Work with A. Faris re: preparations for            0.20      750.00          150.00
                             disclosure statement hearing
07/12/21     JKOCH           Legal research re: TDP (1.0); call with            1.80      450.00          810.00
                             T. Buchanan re: legal research re: TDP
                             (.8)
07/12/21     RBRAD           Correspondence with K. Guerke and K.               0.30    1,075.00          322.50
                             Enos re: RSA motion deposition
                             schedule (.1); correspondence with S.
                             Hershey re: same (.2)
07/12/21     TBUCH           Teleconference with J. Kochenash re:               1.10      645.00          709.50
                             plan issues (.8); analysis related to same
                             (.3)
07/13/21     RBRAD           Begin review of Coalition comments to              0.90    1,075.00          967.50
                             fourth amended plan
07/13/21     RBRAD           Continue document review re: RSA                   3.20    1,075.00        3,440.00
                             depositions (2.8) and conferences with
                             K. Enos re: same (.4)
07/13/21     RBRAD           Teleconference with E. Goodman re:                 0.50    1,075.00          537.50
                             plan term sheet and RSA motion
                             discovery
07/13/21     RBRAD           Conference call with D. Molton, E.                 0.50    1,075.00          537.50
                             Goodman, K. Quinn, and G. Le
                             Chevalier re: negotiations with insurers
07/13/21     JKOCH           Call with A. Jacobs re: legal research re:         3.90      450.00        1,755.00
                             TDP (.2); legal research re: same (3.7)
07/14/21     AFARI           Call with M. Zare re: disclosure                   2.40      485.00        1,164.00
                             statement issues (.6); review Kaiser
                             Gypsum pleadings re: same (1.8)



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07/14/21     RBRAD           Review and consider proposed revision            0.50    1,075.00          537.50
                             to plan term sheet from E. Goodman and
                             proposed email to Debtors and AHCLC
                             (.4) and correspondence with E.
                             Goodman re: same (.1)
07/14/21     EHARR           Emails with E. Goodman, K. Quinn, and            0.50    1,025.00          512.50
                             R. Brady re: plan term sheet issues
07/14/21     KENOS           Review document production re:                   1.80      750.00        1,350.00
                             preparation for Mosby deposition
07/14/21     RBRAD           Attend Whittman deposition re: RSA               6.20    1,075.00        6,665.00
                             motion
07/14/21     JPATT           Work on plan related negotiation issues          3.10    1,475.00        4,572.50
07/14/21     JKOCH           Legal research re: potential objections to       2.70      450.00        1,215.00
                             TDP (2.5); call with T. Buchanan re:
                             legal research re: TDP (.2)
07/14/21     TBUCH           Teleconference with J. Kochenash re:             1.80      645.00        1,161.00
                             plan issues (.3); analysis related to same
                             (1.5)
07/14/21     RBRAD           Teleconference with E. Harron re: plan           1.60    1,075.00        1,720.00
                             term sheet issue (.2); conference call
                             with counsel to TCC, Coalition, and
                             FCR re: same (.8); follow-up
                             correspondence with E. Harron re: same
                             (.1); review and comment on revised
                             plan term sheet language (.3); review
                             correspondence to Debtors from TCC,
                             FCR, and Coalition re: same (.2)
07/14/21     RBRAD           Complete document review in advance              0.90    1,075.00          967.50
                             of Whitman deposition re: RSA motion
07/15/21     RBRAD           Attend (portion) of Moseby deposition            4.30    1,075.00        4,622.50
                             in connection with RSA motion
07/15/21     RBRAD           Review Debtors' response to TCC,                 0.80    1,075.00          860.00
                             Coalition, and FCR email on plan term
                             sheet and related attachments (.4);
                             teleconference with E. Goodman re:
                             same (.2); correspondence with E.
                             Harron and K. Quinn re: same (.2)
07/15/21     KENOS           Attend R. Mosby deposition re: RSA               7.50      750.00        5,625.00
                             objections
07/15/21     KENOS           Review requested Coalition revisions to          0.20      750.00          150.00
                             RSA
07/15/21     EHARR           Email from K. Quinn re: status of plan           0.30    1,025.00          307.50
                             negotiations with insurers
07/15/21     AFARI           Continue review of Kaiser Gypsum                 1.60      485.00          776.00
                             pleadings (1.2); guidance to M. Zare re:
                             same (.4)
07/15/21     JKOCH           Draft memo re: TDP                               2.00      450.00          900.00
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07/15/21     TBUCH           Analysis of plan-related issues                  0.60      645.00          387.00
07/16/21     JPATT           Work on open plan issues                         2.60    1,475.00        3,835.00
07/16/21     RBRAD           Correspondence with M. Linder re: plan           0.40    1,075.00          430.00
                             mediation (.2); review correspondence
                             from Coalition from E. Goodman (.2)
07/16/21     RBRAD           Review insurance coverage analysis               0.40    1,075.00          430.00
                             from counsel to TCC
07/16/21     KENOS           Review and comment on Coalition                  0.90      750.00          675.00
                             revisions to plan
07/16/21     RBRAD           Review initial draft of joinder of               0.90    1,075.00          967.50
                             Coalition, TCC, and FCR in support of
                             RSA motion
07/18/21     KENOS           Review and comment on supporting                 2.90      750.00        2,175.00
                             parties' joinder to RSA motion
07/18/21     EHARR           Review draft joinder in support of RSA           1.50    1,025.00        1,537.50
                             motion (1.3); email to K. Enos re: same
                             (.2)
07/18/21     KENOS           Emails with K. Quinn and R. Grim re:             0.20      750.00          150.00
                             comments to RSA motion joinder
07/18/21     RBRAD           Review and comment on draft joinder of           2.40    1,075.00        2,580.00
                             supporting parties re: RSA motion (1.9);
                             review K. Enos additional edits (.3);
                             correspondence with E. Grim re: same
                             (.2)
07/19/21     RBRAD           Teleconference with E. Harron and K.             0.30    1,075.00          322.50
                             Quinn re: strategy in connection with
                             continuing plan mediation
07/19/21     KENOS           Attend Ownby deposition (6.4) and                7.40      750.00        5,550.00
                             review documents in preparation for
                             same (1.0)
07/19/21     AFARI           Continue review of Kaiser Gypsum                 2.90      485.00        1,406.50
                             pleadings re: preparation of disclosure
                             statement hearing arguments
07/19/21     JKOCH           Legal research re: potential objections to       5.40      450.00        2,430.00
                             TDP (1.4); draft memo re: same (4.0)
07/19/21     JPATT           Review strategy re: open plan                    3.20    1,475.00        4,720.00
                             negotiation points
07/19/21     EHARR           Review RSA and additional edits to               0.70    1,025.00          717.50
                             same (.4); call with K. Quinn and R.
                             Brady re: RSA edits (.3)
07/19/21     RBRAD           Attend deposition of Daniel Ownby in             5.20    1,075.00        5,590.00
                             connection with RSA motion
07/19/21     EHARR           Call to D. Molton re: insurance                  1.00    1,025.00        1,025.00
                             negotiations (.1); review Hartford
                             arguments re: plan issues (.9)


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07/19/21     RBRAD           Review Gilbert comments and edits to             0.40    1,075.00          430.00
                             Draft joinder in support of RSA motion
07/20/21     RBRAD           Review further revised draft supporting          0.50    1,075.00          537.50
                             parties’ joinder to RSA motion
07/20/21     JKOCH           Draft memo re: potential objections to           3.50      450.00        1,575.00
                             TDP
07/20/21     RBRAD           Review and consider Debtors’ position            0.60    1,075.00          645.00
                             on certain plan revisions requested by
                             Coalition
07/20/21     RBRAD           Review and comment on further revised            0.80    1,075.00          860.00
                             plan summary, recommendation and
                             FAQs
07/20/21     AJACO           Review/analyze issues re: TDP litigation         2.40      645.00        1,548.00
07/20/21     RBRAD           Attend (portion) of call with E.                 0.40    1,075.00          430.00
                             Goodman, K. Quinn and E. Grim re:
                             plan issues (.2) and follow-up
                             conference with E. Harron re: same (.2)
07/20/21     KENOS           Review and comment on Coalition                  0.70      750.00          525.00
                             revisions to disclosure statement
07/20/21     KENOS           Review and comment on BSA/Coalition              1.50      750.00        1,125.00
                             most recent revisions to plan (1.3) and
                             confer with YCST team re: same (.2)
07/20/21     KENOS           Review and comment on revised                    0.80      750.00          600.00
                             versions (x2) of plan summary
07/20/21     KENOS           Review and comment on further revised            0.90      750.00          675.00
                             version of joinder and brief in support of
                             RSA
07/20/21     EHARR           Call with J. Lauria, D. Molton, E.               0.70    1,025.00          717.50
                             Goodman, K. Quinn, R. Brady, M.
                             Andolina, A. O'Neill, and R. Mason re:
                             plan
07/20/21     AFARI           Continue review of Kaiser pleadings              2.40      485.00        1,164.00
                             (1.3); begin compiling summary of
                             relevant arguments (1.1)
07/20/21     EHARR           Review plan edits (.8); emails with K.           1.10    1,025.00        1,127.50
                             Enos re: same (.3)
07/20/21     RBRAD           Conference call with counsel to Debtors,         1.50    1,075.00        1,612.50
                             AHCLC, Coalition, and FCR re: plan
                             negotiations and strategy for hearing on
                             RSA motion (1.3); follow-up conference
                             with E. Harron re: same (.2)
07/20/21     JPATT           Work on open issues re: plan and                 2.80    1,475.00        4,130.00
                             negotiations
07/20/21     RBRAD           Review case law in insurance neutrality          1.60    1,075.00        1,720.00
                             and related insurer plan issues


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07/21/21     EHARR           Call with S. Greecher, J. Patton, R.              0.80    1,025.00          820.00
                             Brady, A. Vasquez, A. Brockman, and
                             N. Deluca re: plan due diligence
07/21/21     KENOS           Call with YCST team, K. Quinn, and                0.90      750.00          675.00
                             Ankura re: future claims modeling
                             discussion
07/21/21     JPATT           Forecast call with Ankura                         0.60    1,475.00          885.00
07/21/21     JPATT           plan and confirmation strategy issues             3.10    1,475.00        4,572.50
                             review
07/21/21     KENOS           Confer with A. Faris re: disclosure               0.30      750.00          225.00
                             statement hearing preparations
07/21/21     KENOS           Confer with E. Harron re: preparations            0.30      750.00          225.00
                             for RSA hearing
07/21/21     EHARR           Call with K. Quinn, D. Molton, J.                 0.80    1,025.00          820.00
                             Patton, R. Brady, and E. Goodman re:
                             insurer negotiations
07/21/21     KENOS           Review precedent re: initial preparations         0.40      750.00          300.00
                             for RSA hearing
07/21/21     AJACO           Review/analyze TDP litigation issues              1.10      645.00          709.50
07/21/21     EHARR           Review plan edits                                 1.20    1,025.00        1,230.00
07/21/21     RBRAD           Conference call with J. Patton, K.                0.50    1,075.00          537.50
                             Quinn, E. Harron, K. Enos, and Ankura
                             re: claims forecast analysis
07/21/21     JPATT           Hartford/BSA call with AHC re: plan               1.10    1,475.00        1,622.50
                             negotiations
07/21/21     AFARI           Continue review of disclosure statement           3.40      485.00        1,649.00
                             pleadings from Kaiser Gypsum (1.1);
                             continue drafting insurance treatment
                             memo re: same (2.3)
07/21/21     RBRAD           Conference call with counsel to                   1.00    1,075.00        1,075.00
                             Coalition, and FCR re: case strategy
07/22/21     JPATT           Review open confirmation process                  2.80    1,475.00        4,130.00
                             issues
07/22/21     EHARR           Review joinder in support of RSA (.4);            1.20    1,025.00        1,230.00
                             call with Coalition and Debtor re: same
                             (.8)
07/22/21     RBRAD           Review UST objection to RSA motion                0.40    1,075.00          430.00
07/22/21     KENOS           Review and comment on final proposed              0.90      750.00          675.00
                             plan summary (multiple versions)
07/22/21     RBRAD           Conference call with counsel to Debtors,          0.80    1,075.00          860.00
                             TCC, FCR, and Coalition re: RSA
                             motion strategy
07/22/21     KENOS           Review and comment on proposed final              1.70      750.00        1,275.00
                             version of joinder and brief re: RSA
                             approval (multiple versions)

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07/22/21     RBRAD           Review joint objection of Catholic and          0.40    1,075.00          430.00
                             Methodist ad hoc committees' to RSA
                             motion
07/22/21     AJACO           Review/analyze issues re: TDP litigation        4.90      645.00        3,160.50
                             (4.7); emails with J. Kochenash re:
                             memo analyzing TDP litigation issues
                             (.2)
07/22/21     RBRAD           Review finalized draft of supporting            0.90    1,075.00          967.50
                             parties’ joinder in support of RSA
                             motion (.4) and follow-up
                             correspondence with Coalition re: call
                             with Debtors to discuss joinder (.2);
                             review further revised final draft of
                             joinder (.3)
07/22/21     AFARI           Continue drafting, reviewing, and               2.60      485.00        1,261.00
                             finalizing memo re: Kaiser Gypsum
                             disclosure statement arguments
07/22/21     RBRAD           Review Debtors proposed edits to plan           0.30    1,075.00          322.50
                             summary and FAQs for solicitation
                             package
07/23/21     RBRAD           Conference call with counsel to Debtors,        0.60    1,075.00          645.00
                             AHCLC, TCC, FCR, and Coalition re:
                             strategy for reply to objections to RSA
                             motion
07/23/21     EHARR           Call with K. Quinn re: preparation for          1.80    1,025.00        1,845.00
                             RSA hearing (.2); review RSA
                             objections (1.5)
07/23/21     KENOS           Attend Kinney deposition re: RSA                3.50      750.00        2,625.00
                             approval
07/23/21     KENOS           Review research results re: effect of           0.30      750.00          225.00
                             settlement agreement conditions
                             precedent
07/23/21     RBRAD           Conference call with counsel to TCC,            0.80    1,075.00          860.00
                             Coalition, and FCR re: strategy in
                             connection with reply to RSA motion
                             objections
07/23/21     RBRAD           Review proposed edits to disclosure             0.30    1,075.00          322.50
                             statement
07/23/21     RBRAD           Review certain insurers' objection to           1.20    1,075.00        1,290.00
                             RSA motion
07/23/21     AJACO           Research/analyze precedent re: TDP              4.30      645.00        2,773.50
                             issues
07/23/21     RBRAD           Review Knight objection to RSA motion           0.30    1,075.00          322.50
07/23/21     RBRAD           Review LDS objection to RSA motion              0.20    1,075.00          215.00
07/23/21     RBRAD           Review Hartford objection to RSA                0.80    1,075.00          860.00
                             motion


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Date         Initials        Description                                     Hours         Rate         Amount
07/23/21     RBRAD           Review Century objection to RSA                    0.90    1,075.00          967.50
                             motion
07/23/21     RBRAD           Attend Kinney deposition in connection             3.20    1,075.00        3,440.00
                             with RSA motion
07/23/21     RBRAD           Review objecting claimants' objection to           1.20    1,075.00        1,290.00
                             RSA motion
07/23/21     KENOS           Initial review of objections to RSA                1.20      750.00          900.00
07/23/21     KENOS           Call with counsel to Debtors and                   0.60      750.00          450.00
                             supporting parties re: preparations for
                             RSA hearing
07/23/21     KENOS           Review first amendment to RSA                      0.20      750.00          150.00
07/23/21     EHARR           Call with K. Quinn, E. Grim, D. Molton,            0.80    1,025.00          820.00
                             E. Goodman, J. Stang, and J. Lucas re:
                             RSA
07/24/21     RBRAD           Review Shamah declaration in support               0.50    1,075.00          537.50
                             of Century objection to RSA motion
07/24/21     KENOS           Review insurers motion to compel re:               0.40      750.00          300.00
                             additional discovery in connection with
                             RSA
07/24/21     RBRAD           Review additional discovery and related            0.20    1,075.00          215.00
                             correspondence from Century re:
                             potential additional Debtor witness re:
                             RSA motion and Debtors’ response
07/24/21     RBRAD           Review certain insurers’ motion to                 0.90    1,075.00          967.50
                             compel discovery in connection with
                             RSA motion
07/24/21     EHARR           Review objection to RSA                            0.80    1,025.00          820.00
07/24/21     RBRAD           Correspondence with E. Harron re:                  0.20    1,075.00          215.00
                             strategy in connection with reply in
                             support of RSA motion
07/25/21     EHARR           Review objections to RSA (2.5); review             3.60    1,025.00        3,690.00
                             draft response to RSA (.8); emails with
                             R. Brady and K. Enos re: same (.3)
07/25/21     RBRAD           Review and comment on draft reply                  0.80    1,075.00          860.00
                             from the supporting parties to objections
                             to RSA motion (.6) and review
                             comments from E. Harron (.2)
07/25/21     KENOS           Review and comment on reply in                     1.70      750.00        1,275.00
                             support of RSA (multiple versions)
07/25/21     SKOHU           Analyze updated draft of trust                     1.00      750.00          750.00
                             agreement
07/25/21     RBRAD           Review further revised reply of                    0.50    1,075.00          537.50
                             supporting parties to objections to RSA
                             motion



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Date         Initials        Description                                   Hours         Rate         Amount
07/25/21     RBRAD           Review Coalition draft reply to                  0.40    1,075.00          430.00
                             objections to RSA provision requiring
                             payment of Coalition professional fees
07/26/21     JPATT           Review open issues and negotiation               3.10    1,475.00        4,572.50
                             strategy
07/26/21     KENOS           Review pleadings re: RSA discovery               0.70      750.00          525.00
                             disputes
07/26/21     SKOHU           Analyze draft of trust agreement for             0.30      750.00          225.00
                             filing with plan supplement
07/26/21     RBRAD           Review Debtors’ draft reply brief re:            1.60    1,075.00        1,720.00
                             RSA motion (1.2) and revisions to same
                             (.4)
07/26/21     EHARR           Call with email with J. Stang re:                0.40    1,025.00          410.00
                             payment percentage (.2); emails with J.
                             Patton re: same (.2)
07/26/21     AJACO           Review/revise TDP litigation memo                4.90      645.00        3,160.50
07/26/21     RBRAD           Conference with E. Harron re: payment            0.30    1,075.00          322.50
                             percentage negotiations (.2) and review
                             correspondence from J. Patton re: same
                             (.1)
07/26/21     AJACO           Review objections to RSA                         0.60      645.00          387.00
07/26/21     RBRAD           Review further edits to draft supporting         1.90    1,075.00        2,042.50
                             parties’ reply re: RSA motion (3x) (1.5)
                             and correspondence with counsel to
                             TCC and Coalition re: same (.4)
07/26/21     KENOS           Review and consider BSA reply in                 0.90      750.00          675.00
                             support of RSA motion
07/27/21     RBRAD           Review Debtors’ comments to RSA                  0.50    1,075.00          537.50
                             amendment and correspondence with K.
                             Quinn, E. Harron, and K. Enos re: same
07/27/21     EHARR           Emails with J. Stang re: TDP and                 0.50    1,025.00          512.50
                             payment percentage (.3); email to T.
                             Vasquez re: same (.2)
07/27/21     RBRAD           Review correspondence from counsel               0.20    1,075.00          215.00
                             re: errata to plain English plan summary
07/27/21     RBRAD           Conferences with E. Harron (x2) re:              0.40    1,075.00          430.00
                             RSA and plan term sheet issues
07/27/21     RBRAD           Review correspondence with J. Stang              0.20    1,075.00          215.00
                             and E. Harron re: initial payment
                             percentage negotiations
07/27/21     KENOS           Review and consider research results re:         0.40      750.00          300.00
                             condition precedent implications
                             (Hartford settlement)
07/27/21     AJACO           Review objections and replies re: RSA            1.40      645.00          903.00
                             motion (1.3); emails with K. Enos, K.
                             Quinn and J. Patton re: RSA hearing (.1)

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Date         Initials        Description                                     Hours         Rate         Amount
07/27/21     JPATT           Open issues for upcoming negotiations              2.10    1,475.00        3,097.50
07/27/21     KENOS           Review first amendment to RSA and                  0.40      750.00          300.00
                             emails with parties re: same
07/27/21     KENOS           Call with counsel to BSA, TCC,                     0.30      750.00          225.00
                             Coalition, and AHLC re: RSA
                             termination issue
07/27/21     AJACO           Review/revise TDP litigation memo                  1.70      645.00        1,096.50
07/27/21     EHARR           Call with M. Andolina, J. Lauria, E.               1.00    1,025.00        1,025.00
                             Goodman, R. Mason, D. Molton, and J.
                             Stang re: RSA (.5); call with E.
                             Goodman, R. Mason, and D. Molton re:
                             same (.5)
07/27/21     RBRAD           Review Hartford motion to strike                   0.60    1,075.00          645.00
                             Moseby testimony in connection with
                             the RSA motion and related declaration
07/28/21     AJACO           Review/revise TDP litigation memo                  2.70      645.00        1,741.50
07/28/21     JPATT           Review insurance negotiations issue                3.20    1,475.00        4,720.00
07/28/21     RBRAD           Review final amendment to RSA                      0.30    1,075.00          322.50
07/28/21     KENOS           Call with M. Linder re: revisions to               0.30      750.00          225.00
                             RSA and upcoming case issues
07/28/21     KENOS           Review additional claimant objections              0.30      750.00          225.00
                             to RSA
07/28/21     KENOS           Confer with RSA parties re: first RSA              0.40      750.00          300.00
                             amendment
07/28/21     EHARR           Review emails from E. Goodman and                  1.10    1,025.00        1,127.50
                             M. Linder re; RSA (.5); review letter
                             from J. Stang re: same (.3); emails from
                             K. Enos re: RSA status (.3)
07/28/21     KENOS           Confer with Debtor counsel re:                     0.40      750.00          300.00
                             mediation (.2) and preparations related
                             to same (.2)
07/28/21     KENOS           Review proposed final version of RSA               0.30      750.00          225.00
                             amendment
07/29/21     KENOS           Preparations for 8/3-8/5 plan mediation            0.50      750.00          375.00
07/29/21     RBRAD           Review draft discovery letter to Court             0.50    1,075.00          537.50
                             re: Chubb/Century (.3) and review edits
                             and revised letter (.2)
07/29/21     JPATT           Analyze RSA issues and revisions as                3.20    1,475.00        4,720.00
                             well as and case strategy
07/30/21     RBRAD           Review notice of continued disclosure              0.20    1,075.00          215.00
                             statement hearing
07/30/21     RBRAD           Review BSA pension update from B.                  0.20    1,075.00          215.00
                             Whitman re: plan term sheet




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Date         Initials        Description                                    Hours         Rate         Amount
07/30/21     KENOS           Review Hartford motion to strike Mosby            0.60      750.00          450.00
                             deposition (.3) and Debtors' response to
                             same (.3)
07/30/21     KENOS           Review final proposed version of                  0.60      750.00          450.00
                             Chubb/Century discovery letter (.4) and
                             emails with survivor parties re: same
                             (.2)
07/31/21     RBRAD           Review Debtors’ letter to counsel to              0.40    1,075.00          430.00
                             Century re: withdrawing instruction not
                             to answer to certain categories of
                             information and producing additional
                             interacted board minute information and
                             related information
07/31/21     KENOS           Preparations for 8/3-8/6 mediation                0.50      750.00          375.00

                                                           Total            293.50                   273,806.00

Task Code:      B017         Retention of Professionals/Fee Issues

Date         Initials        Description                                    Hours         Rate         Amount
07/01/21     KENOS           Emails with expert re: payment of fees            0.20      750.00          150.00
07/02/21     JKOCH           Review CNOs for Gilbert and YCST                  0.10      450.00           45.00
                             May fee applications
07/02/21     LEDEN           File and serve CNO re: Gilbert's                  0.20      310.00           62.00
                             monthly fee statement for May 2021
07/02/21     LEDEN           File and serve CNO re: FCR and YCST               0.20      310.00           62.00
                             monthly fee statement for May 2021
07/06/21     JKOCH           Review Ankura invoice                             0.30      450.00          135.00
07/06/21     LEDEN           Email to Gilbert re: CNO re: April 2021           0.10      310.00           31.00
                             monthly fee statement
07/07/21     LEDEN           Draft Ankura's monthly fee statement              0.50      310.00          155.00
                             for May 2021
07/07/21     LEDEN           Follow up with J. Kochenash re:                   0.10      310.00           31.00
                             Ankura's monthly fee invoice for May
                             2021
07/07/21     LEDEN           Update running chart re: YCST's                   0.10      310.00           31.00
                             monthly fees and expenses
07/07/21     LEDEN           Follow-up email to P. Irvine re:                  0.10      310.00           31.00
                             Ankura's monthly fee invoice for May
                             2021
07/08/21     LEDEN           Begin drafting Ankura's quarterly fee             0.60      310.00          186.00
                             statement for the period March-June
                             2021
07/08/21     LEDEN           Email to P. Irvine re: final invoice re:          0.10      310.00           31.00
                             May 2021 fee invoice


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Date         Initials        Description                                    Hours         Rate         Amount
07/08/21     LEDEN           Finalize, file, and serve Ankura's                0.40      310.00          124.00
                             monthly fee statement for May 2021
07/08/21     LEDEN           Update running spreadsheet re: YCST's             0.10      310.00           31.00
                             requested/paid fees and expenses
07/08/21     LEDEN           Further revise Ankura's monthly fee               0.50      310.00          155.00
                             invoice for May 2021; update draft fee
                             statement re: same
07/08/21     JKOCH           Review draft Ankura May fee                       0.10      450.00           45.00
                             application
07/08/21     LEDEN           Email to A. Brockman re: review and               0.10      310.00           31.00
                             approval of Ankura's monthly fee
                             statement for May 2021
07/15/21     JKOCH           Review draft YCST June fee application            0.80      450.00          360.00
07/15/21     CCATH           Research re: potential conflict/disclosure        0.30      310.00           93.00
                             issue
07/20/21     LEDEN           Review Ankura's invoice for June 2021;            0.10      310.00           31.00
                             email same to J. Kochenash for review
07/21/21     LEDEN           Draft CNO re: Ankura's monthly fee                0.10      310.00           31.00
                             statement for May 2021
07/21/21     LEDEN           Draft CNO re: YCST's monthly fee                  0.10      310.00           31.00
                             statement for May 2021
07/22/21     JKOCH           Review Gilbert June fee application               0.10      450.00           45.00
07/22/21     RBRAD           Review revised draft order deferring              0.50    1,075.00          537.50
                             holdbacks to the end of the case (.2) and
                             correspondence with Century, TCC,
                             Debtors and UST re: same (3)
07/22/21     CCATH           Research re: potential conflict/disclosure        0.10      310.00           31.00
                             issue
07/22/21     LEDEN           Update running spreadsheet re: FCR                0.10      310.00           31.00
                             professionals' monthly fees and
                             expenses
07/22/21     LEDEN           Finalize, file, and serve Gilbert's               0.60      310.00          186.00
                             monthly fee statement for June 2021
07/22/21     JKOCH           Review draft CNOs for YCST and                    0.20      450.00           90.00
                             Ankura's June and May fee statements
07/26/21     RBRAD           Review further revised order re:                  0.20    1,075.00          215.00
                             deferring holdback to end of case (.1)
                             and correspondence with B. Warner re:
                             same (.1)
07/26/21     LEDEN           Update, file, and serve CNO re:                   0.30      310.00           93.00
                             Ankura's eleventh monthly fee statement
                             for May 2021
07/28/21     LEDEN           Update running spreadsheet re:                    0.10      310.00           31.00
                             requested fees and expenses of FCR
                             professionals


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Date         Initials        Description                                    Hours         Rate         Amount
07/28/21     JKOCH           Review Ankura invoice                             0.10      450.00           45.00
07/29/21     LEDEN           Finalize, file, and serve Ankura's                0.50      310.00          155.00
                             monthly fee statement for June 2021
07/29/21     JKOCH           Review draft Ankura June 2021 fee                 0.10      450.00           45.00
                             application

                                                           Total               8.10                    3,386.50

Task Code:      B018         Fee Application Preparation

Date         Initials        Description                                    Hours         Rate         Amount
07/12/21     EHARR           Review and edit June 2021 YCST fee                1.50    1,025.00        1,537.50
                             statement re: fee application preparation
07/15/21     LEDEN           Draft FCR and YCST's monthly fee                  1.30      310.00          403.00
                             statement for June 2021
07/15/21     LEDEN           Finalize, file, and serve FCR and                 0.50      310.00          155.00
                             YCST's monthly fee statement for June
                             2021
07/15/21     LEDEN           Obtain and email LEDES and Excel file             0.10      310.00           31.00
                             re: YCST's monthly fee statement for
                             June 2021
07/28/21     LEDEN           Draft Ankura's monthly fee statement              0.50      310.00          155.00
                             for June 2021
07/30/21     CCATH           File and serve CNO re: FCR/YCST                   0.20      310.00           62.00
                             fifteenth monthly fee application

                                                           Total               4.10                    2,343.50




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Timekeeper Summary

Initials        Name                   Timekeeper Title                 Hours            Rate       Amount
AJACO           Ashley E. Jacobs       Associate                         37.80         645.00      24,381.00
CCATH           Casey Cathcart         Paralegal                          6.50         310.00       2,015.00
EHARR           Edwin J. Harron        Partner                           33.30       1,025.00      34,132.50
JPATT           James L. Patton Jr     Partner                           47.00       1,475.00      69,325.00
JKOCH           Jared W. Kochenash     Associate                         27.30         450.00      12,285.00
JBROO           Joshua Brooks          Associate                         12.50         400.00       5,000.00
KDORV           Kendeil A. Dorvilier   Associate                         17.80         400.00       7,120.00
KENOS           Kenneth J. Enos        Partner                           92.40         750.00      69,300.00
KGUER           Kevin A. Guerke        Partner                           10.40         825.00       8,580.00
LEDEN           Lisa M. Eden           Paralegal                          9.30         310.00       2,883.00
RBRAD           Robert S. Brady        Partner                           96.70       1,075.00     103,952.50
AFARI           S. Alexander Faris     Associate                         26.20         485.00      12,707.00
SKOHU           Sara Beth A.R.         Counsel                            8.10         750.00       6,075.00
                Kohut
TBUCH           Travis G. Buchanan     Associate                          3.50         645.00       2,257.50

Total                                                                    428.80                  $360,013.50




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Task Summary

Task Code:B001                      Case Administration

Name                                Timekeeper Title                 Hours            Rate        Amount
Robert S. Brady                     Partner                           0.20         1,075.00         215.00
Ashley E. Jacobs                    Associate                         1.70           645.00       1,096.50
Jared W. Kochenash                  Associate                         0.10           450.00          45.00
S. Alexander Faris                  Associate                         0.60           485.00         291.00
Casey Cathcart                      Paralegal                         2.00           310.00         620.00
Lisa M. Eden                        Paralegal                         1.90           310.00         589.00

Total                                                                  6.50                       2,856.50

Task Code:B002                      Court Hearings

Name                                Timekeeper Title                 Hours             Rate       Amount
Edwin J. Harron                     Partner                           3.20         1,025.00       3,280.00
James L. Patton Jr                  Partner                           2.10         1,475.00       3,097.50
Kenneth J. Enos                     Partner                           4.60           750.00       3,450.00
Kevin A. Guerke                     Partner                           2.30           825.00       1,897.50
Robert S. Brady                     Partner                           6.80         1,075.00       7,310.00
Casey Cathcart                      Paralegal                         3.40           310.00       1,054.00

Total                                                                 22.40                      20,089.00

Task Code:B007                      Claims Analysis, Objections and Resolutions

Name                                Timekeeper Title                 Hours            Rate        Amount
Edwin J. Harron                     Partner                            0.30        1,025.00         307.50
Kenneth J. Enos                     Partner                           31.10          750.00      23,325.00
Ashley E. Jacobs                    Associate                          0.10          645.00          64.50
Jared W. Kochenash                  Associate                          4.90          450.00       2,205.00
Joshua Brooks                       Associate                         12.50          400.00       5,000.00
Kendeil A. Dorvilier                Associate                         17.80          400.00       7,120.00
S. Alexander Faris                  Associate                          7.40          485.00       3,589.00

Total                                                                 74.10                      41,611.00

Task Code:B008                      Meetings

Name                                Timekeeper Title                 Hours            Rate        Amount
Edwin J. Harron                     Partner                           0.50         1,025.00         512.50
James L. Patton Jr                  Partner                           0.80         1,475.00       1,180.00
Kenneth J. Enos                     Partner                           1.40           750.00       1,050.00
Robert S. Brady                     Partner                           1.50         1,075.00       1,612.50
Ashley E. Jacobs                    Associate                         1.70           645.00       1,096.50
Jared W. Kochenash                  Associate                         1.20           450.00         540.00
S. Alexander Faris                  Associate                         2.00           485.00         970.00

Total                                                                  9.10                       6,961.50



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Task Code:B009                      Stay Relief Matters

Name                                Timekeeper Title                  Hours          Rate        Amount
Edwin J. Harron                     Partner                            0.20       1,025.00        205.00
Ashley E. Jacobs                    Associate                          0.30         645.00        193.50

Total                                                                   0.50                       398.50

Task Code:B011                      Other Adversary Proceedings

Name                                Timekeeper Title                  Hours           Rate       Amount
Kenneth J. Enos                     Partner                            0.60         750.00         450.00
Kevin A. Guerke                     Partner                            8.10         825.00       6,682.50
Robert S. Brady                     Partner                            0.70       1,075.00         752.50
Ashley E. Jacobs                    Associate                          1.00         645.00         645.00
Casey Cathcart                      Paralegal                          0.10         310.00          31.00

Total                                                                  10.50                     8,561.00

Task Code:B012                      Plan and Disclosure Statement

Name                                Timekeeper Title                  Hours          Rate        Amount
Edwin J. Harron                     Partner                            27.60      1,025.00      28,290.00
James L. Patton Jr                  Partner                            44.10      1,475.00      65,047.50
Kenneth J. Enos                     Partner                            54.50        750.00      40,875.00
Robert S. Brady                     Partner                            86.80      1,075.00      93,310.00
Sara Beth A.R. Kohut                Counsel                             8.10        750.00       6,075.00
Ashley E. Jacobs                    Associate                          33.00        645.00      21,285.00
Jared W. Kochenash                  Associate                          19.30        450.00       8,685.00
S. Alexander Faris                  Associate                          16.20        485.00       7,857.00
Travis G. Buchanan                  Associate                           3.50        645.00       2,257.50
Casey Cathcart                      Paralegal                           0.40        310.00         124.00

Total                                                                 293.50                   273,806.00

Task Code:B017                      Retention of Professionals/Fee Issues

Name                                Timekeeper Title                  Hours          Rate        Amount
Kenneth J. Enos                     Partner                            0.20         750.00         150.00
Robert S. Brady                     Partner                            0.70       1,075.00         752.50
Jared W. Kochenash                  Associate                          1.80         450.00         810.00
Casey Cathcart                      Paralegal                          0.40         310.00         124.00
Lisa M. Eden                        Paralegal                          5.00         310.00       1,550.00

Total                                                                   8.10                     3,386.50




                                                                                                    Page Number 27
                    Case 20-10343-LSS           Doc 6099-2   Filed 08/20/21     Page 29 of 29
Patton, James L., Jr., Future Claimants' Representative       Invoice Date:                 August 11, 2021
                                                              Invoice Number:                    50026391
                                                              Matter Number:                  077494.1001

Task Code:B018                      Fee Application Preparation

Name                                Timekeeper Title                Hours            Rate       Amount
Edwin J. Harron                     Partner                          1.50        1,025.00       1,537.50
Casey Cathcart                      Paralegal                        0.20          310.00          62.00
Lisa M. Eden                        Paralegal                        2.40          310.00         744.00

Total                                                                 4.10                      2,343.50




                                                                                                   Page Number 28
